Case 1:20-cv-00228-DKW-WRP Document 8 Filed 05/29/20 Page 1 of 18             PageID #: 29




  CULPEPPER IP, LLLC
  Kerry S. Culpepper, Bar No. 9837
  75-170 Hualalai Road, Suite B204
  Kailua-Kona, Hawaii 96740
  Telephone: (808) 464-4047
  Facsimile: (202) 204-5181
  E-Mail:     kculpepper@culpepperip.com

  Attorney for Plaintiff
  42 Ventures, LLC
                           UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

   42 Ventures, LLC,                         )   Case No.: 1:20-cv-228-DKW-WRP
                                             )   (Trademark)
                      Plaintiff,             )
       vs.                                   )   FIRST AMENDED COMPLAINT;
                                             )   EXHIBIT 1
   Patrick Rend aka Ivan Petrovic,           )
   Patrick Petrov, Vinit Mav, He Shan,       )   (1) TRADEMARK
   Hosam Azzam, Fahd Ali and DOES            )   INFRINGEMENT
   1-10                                      )   (2) UNFAIR COMPETITION
                                             )
                      Defendants.

                            FIRST AMENDED COMPLAINT

           Plaintiff 42 Ventures, LLC (“Plaintiff”) files this First Amended Complaint

  (“FAC”) against Defendants Patrick Rend aka Ivan Petrovic (“Rend”), Ivan

  Petrovic, Vinit Mav, He Shan, Hosam Azzam, Fahd Ali and DOES 1-10 and alleges

  as follows:

                           I.      NATURE OF THE ACTION

           1.    Plaintiff brings this action for infringement of a federally registered



  13-04A
    Case 1:20-cv-00228-DKW-WRP Document 8 Filed 05/29/20 Page 2 of 18                 PageID #: 30




         trademark in violation of Section 32(1) of the Lanham Act (15 U.S.C. § 1114(1))

         and for unfair competition in violation of Section 43(a) of the Lanham Act (15

         U.S.C. § 1125(a)).

               2.       This action seeks injunctive relief, damages and other appropriate relief

         arising from Defendants’ willful acts of trademark infringement and unfair

         competition.

                                 II.   JURISDICTION AND VENUE

               3.       This Court has subject matter jurisdiction over this action under 15

         U.S.C. § 1121 and 28 U.S.C. §§ 1331 and 1338 because it involves substantial claims

         arising under the federal Lanham Act.

               4.       This Court has personal jurisdiction over Defendants. Defendants have

         purposely infringed Plaintiff’s registered trademark within and outside this

         jurisdiction with the full knowledge that their acts would cause injury in this

         jurisdiction. As such, Defendants have sufficient contacts with this judicial district

         to permit the Court’s exercise of personal jurisdiction over them.

               5.       Particularly, Defendants distributed and/or streamed motion pictures in

         violation of US Copyright law to numerous individuals in Hawaii and the United

         States via their interactive websites and/or software applications under names

         identical and/or confusingly similar to Plaintiff’s registered trademark.

               6.       In the alternative, the Court has jurisdiction of Defendants pursuant to


                                                     2
13-04A
    Case 1:20-cv-00228-DKW-WRP Document 8 Filed 05/29/20 Page 3 of 18                  PageID #: 31




         Fed. R. Civ. P. 4(k)(2), the so-called federal long-arm statute, for at least the

         following reasons: (1) Plaintiff’s claims arise under federal law; (2) the Defendants

         purposely directed their electronic activity into the United States (“US”) and target

         and attract a substantial number of users in the US and, more particularly, this

         District; (3) Defendants do so with the manifest intent of engaging in business or

         other interactions with the US; (4) the Defendants are not subject to jurisdiction in

         any state’s courts of general jurisdiction; and (5) exercising jurisdiction is consistent

         with the US Constitution and laws.

               7.     Defendants use US email providers such as the gmail service of Google

         to communicate with their users.

               8.     Defendants use or have used many US based sources for operating their

         interactive websites. Defendants use the US nameserver company Cloudflare, Inc.

               9.     Defendants purposely avails themselves of the advantages of US law.

         Particularly, Defendants take advantage of the safe harbor provisions of the Digital

         Millennium Copyright Act (“DMCA”) on their websites.




                                                    3
13-04A
    Case 1:20-cv-00228-DKW-WRP Document 8 Filed 05/29/20 Page 4 of 18              PageID #: 32




               10.   Defendants use the US social media companies Facebook and Twitter

         to promote their websites.

               11.   Defendants promote overwhelmingly if not exclusively motion pictures

         produced by US companies on their interactive websites.

               12.   Defendants have designed their interactive websites to individually

         target Hawaii specifically and US users generally based upon their personal

         information such as web browsing history.

               13.   Upon information and belief, Defendants collect log files including the

         Internet Protocol (“IP”) address, Internet Service Provider (“ISP”) and browser type


                                                  4
13-04A
    Case 1:20-cv-00228-DKW-WRP Document 8 Filed 05/29/20 Page 5 of 18              PageID #: 33




         of each user who visits their websites and use cookies and web beacons to store

         information such as personal preferences of users who visit their websites.

               14.    Upon information and belief, Defendants obtains financial benefit from

         their users in Hawaii and the United States via third party advertisements such as

         Google through the Google AdSense program.

               15.    Upon information and belief, Defendants use the cookies, log files

         and/or web beacons to narrowly tailor the website viewing experience to the

         geolocation of the user. Particularly, users in Hawaii receive advertisements based

         upon their location and websites they have previously visited.

               16.    Defendants Rend and Patrick Petrov use the US domain registrar

         Name.com to register their domain YTS.WS, the US payment provider Paypal, Inc.

         to pay for domain and nameserver services and the US email provider Google to

         operate their website.

               17.    Defendant Vinit Mav uses the US web host provider Amazon Web

         Services to host his website and the US payment provider Visa to pay for hosting

         and nameserver services.

               18.    Defendant He Shan uses the US domain registrar Dynadot LLC and the

         US payment provider Visa to pay for domain and nameserver services.

               19.    Defendants Hosam Azzam and Fahd Ali promote and distribute

         infringing software applications (“apps”) from the Google Play store.


                                                  5
13-04A
    Case 1:20-cv-00228-DKW-WRP Document 8 Filed 05/29/20 Page 6 of 18               PageID #: 34




               20.    Defendants Hosam Azzam uses the US company Namecheap as his

         domain registrar and host provider for his website.

               21.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) - (c)

         because: (a) all or a substantial part of the events or omissions giving rise to the

         claims occurred in this District.

                                             III.   PARTIES

                                   A. Plaintiff 42 Ventures, LLC
               22.    Plaintiff is a limited liability company organized under the laws of

         Hawaii and having its principal place of business in Kailua Kona, Hawaii.

               23.    Plaintiff distributes licensed content to the public from a plurality of

         means including, but not limited to, websites.

                                                    B. Defendants

               24.    Upon information and belief, Defendant Rend is an individual residing

         in Belgrade, Serbia and a citizen of Serbia.

               25.    Upon information and belief, Defendant Patrick Petrov is an individual

         residing in Moscow, Russia and a citizen of Russia.

               26.    Upon information and belief, Defendant Vinit Mav is an individual

         residing in Maharashtra, India and a citizen of India.

               27.    Upon information and belief, Defendant He Shan is an individual

         residing in Chongqing, China and a citizen of China.


                                                      6
13-04A
    Case 1:20-cv-00228-DKW-WRP Document 8 Filed 05/29/20 Page 7 of 18                PageID #: 35




               28.    Upon information and belief, Defendant Hosam Azzam is an

         individual residing in Giza, Egypt.

               29.    Upon information and belief, Defendant Fahd Ali is an individual

         residing in India.

               30.    After investigation, Plaintiff is unable to ascertain the identities of

         additional parties whose actions may have contributed or assisted in the claims as

         alleged herein. At this time such individuals, businesses, and/or governmental

         entities are identified as DOES 1-10 herein. Specific individuals, businesses, and/or

         governmental entities will be named at a later time when his, her, its or their

         identity/identities become known to Plaintiff.

                                               IV.   JOINDER

               31.    Pursuant to Fed. R. Civ. P. 20(a)(2), each of the Defendants was

         properly joined because, as set forth in more detail below, the Plaintiff asserts: (a)

         a right to relief arising out of the same transaction, occurrence, or series or

         transactions, namely distribution of unlicensed copyright protected content using an

         identical or confusingly similar mark as Plaintiff’s registered trademark via

         websites of Defendants; and (b) there are common questions of law and fact.

                                V.     FACTUAL BACKGROUND
               A. The Plaintiff Owns the Trademark

               32.    Plaintiff is the owner of a federal trademark registration, Reg. No.


                                                     7
13-04A
    Case 1:20-cv-00228-DKW-WRP Document 8 Filed 05/29/20 Page 8 of 18               PageID #: 36




         6,025,651, which issued on Mar. 31, 2020 on the principal register of the United

         States Patent and Trademark Office. This registration for the standard character

         mark YTS mark covers CLASS 9: Downloadable computer software for

         downloading and streaming multimedia content images, videos and audio. A true

         copy of this registration is attached as Plaintiff’s Exhibit “1”. The registration is

         valid and subsisting and has never been cancelled.

               33.    Plaintiff’s goods are distributed under the YTS mark throughout the

         US on one or more websites.

               34.    Plaintiff has invested substantial time, effort and financial resources

         promoting its YTS trademark in connection with the marketing and sale of its goods

         and/or services in interstate commerce.

               35.    Plaintiff’s YTS trademark is inherently distinctive as applied to

         Plaintiff’s goods and/or services that bear the mark.

               B. Defendants infringe Plaintiff’s registered Trademark

               36.    Notwithstanding Plaintiff’s established rights in the trademark YTS,

         upon information and belief, Defendants adopted and used the confusingly similar

         and/or identical mark YTS in interstate commerce in connection with the

         distribution and/or streaming of unlicensed copyright protected content after

         Plaintiff first adopted the trademark.




                                                   8
13-04A
    Case 1:20-cv-00228-DKW-WRP Document 8 Filed 05/29/20 Page 9 of 18                PageID #: 37




                  37.   Defendants’ Rend and Petrov operate the website YTS.WS that

         includes the YTS mark as a spurious designation that is identical with, or

         substantially indistinguishable from Plaintiff’s registered YTS trademark.

                  38.   Defendant Vinit Mav operate the website YTS.MS that includes the

         YTS mark as a spurious designation that is identical with, or substantially

         indistinguishable from Plaintiff’s registered YTS trademark.

                  39.   Defendant He Shan operates and/or operated the websites YST.LT,

         YTS.TL, ytsag.me, yts.ae, ytsmovies.cc and yts-ag.com. Each of the websites

         include the YTS mark as a spurious designation that is identical with, or

         substantially indistinguishable from Plaintiff’s registered YTS trademark.

                  40.   Defendant Hosam Azzam promotes and distributes the apps “Y

         Movies - YTS Movies Library” and “YTS movies” from at least the Google play

         store.

                  41.   Defendant Fahd Ali promotes and distributes the app “Movie

         Downloader 2020 | YTS Movies” from at least the Google play store.

                  42.   Defendants stream and distribute unlicensed copyright protected

         content from similar relevant trade channels as Plaintiff streams and distributes

         licensed content.

                  43.   Plaintiff’s registered trademark is depicted below (see Exhibit “1” for

         a true copy of the registration):


                                                    9
13-04A
   Case 1:20-cv-00228-DKW-WRP Document 8 Filed 05/29/20 Page 10 of 18         PageID #: 38




              44.   Defendants Rend and Petrov use the YTS mark as it appears on their

         website YTS.WS:




              45.   Defendant Vinit Mav uses the YTS mark on his website as it appears

         on his website YTS.MS.




              46.   Defendant He Shan uses the YTS mark on his website as it appears on

         his websites YST.LT, YTS.AE and YTS.TL.




                                              10
13-04A
   Case 1:20-cv-00228-DKW-WRP Document 8 Filed 05/29/20 Page 11 of 18          PageID #: 39




               47.    Defendant He Shan’s other domains such as ytsag.me, yts.ae,

         ytsmovies.cc and yts-ag.com also include Plaintiff’s YTS trademark.

               48.    Defendants Hosam Azzam and Fahd Ali use the YTS mark in their app

         graphical user interface and/or the title of their app itself.




                                                     11
13-04A
   Case 1:20-cv-00228-DKW-WRP Document 8 Filed 05/29/20 Page 12 of 18   PageID #: 40




                                         12
13-04A
   Case 1:20-cv-00228-DKW-WRP Document 8 Filed 05/29/20 Page 13 of 18           PageID #: 41




                                VI. FIRST CLAIM FOR RELIEF
                                    (Trademark Infringement)

               49.   Plaintiff re-alleges and incorporates by reference the allegations

         contained in each of the foregoing paragraphs.

               50.   As its first ground for relief, Plaintiff alleges federal trademark

         infringement under Section 32(1) of the Lanham Act, 15 U.S.C. § 1114(1).

               51.   Plaintiff has distributed licensed content in United States commerce

         under the YTS trademark since at least January 27, 2020. It has used the YTS

         trademark continuously in United States commerce since that time.

               52.   Without Plaintiff’s consent, Defendants have used and continue to use


                                                 13
13-04A
   Case 1:20-cv-00228-DKW-WRP Document 8 Filed 05/29/20 Page 14 of 18                PageID #: 42




         the infringing YTS mark in connection with the sale, offering for sale, distribution

         and advertising of Defendants’ goods and/or services.

               53.    Defendants have engaged in their infringing activity despite having

         constructive notice of Plaintiff’s federal registration rights under 15 U.S.C. § 1072

         and, upon information and belief, despite having actual knowledge of Plaintiffs’ use

         of the YTS mark.

               54.    Plaintiff has requested in writing that Defendants cease and desist from

         their infringing actions, but Defendants have failed to comply with Plaintiff’s

         demands.

               55.    Defendants’ actions are likely to mislead the public into concluding that

         their goods and or services originate with or are authorized by Plaintiff, which will

         damage both Plaintiff and the public. Plaintiff has no control over the quality of

         goods and services sold by Defendants and because of the source confusion caused

         by Defendants, Plaintiff has lost control over its valuable goodwill.

               56.    Upon information and belief, Defendants have advertised and offered

         its goods and services for sale using the YTS mark with the intention of misleading,

         deceiving or confusing consumers as to the origin of its goods and of trading on

         Plaintiff’s reputation and goodwill. Defendants’ use of the YTS mark constitutes

         willful, deliberate and intentional trademark infringement.

               57.    As a direct and proximate result of Defendants’ trademark


                                                  14
13-04A
   Case 1:20-cv-00228-DKW-WRP Document 8 Filed 05/29/20 Page 15 of 18                   PageID #: 43




         infringement, Plaintiff has suffered and will continue to suffer irreparable loss of

         income, profits and goodwill and Defendants have and will continue to unfairly

         acquire income, profits and goodwill.

               58.    Defendants’ acts of infringement will cause further irreparable injury

         to Plaintiff if Defendants are not restrained by this Court from further violation of

         Plaintiff’s rights. Plaintiff has no adequate remedy at law.

                                   VII. SECOND CLAIM FOR RELIEF
                                       (Federal Unfair Competition)

               59.    Plaintiff re-alleges and incorporate by reference the allegations

         contained in each of the foregoing paragraphs.

               60.    As its second ground for relief, Plaintiff alleges federal unfair

         competition under Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

               61.    Defendants’ unauthorized marketing and sale of their products in

         interstate commerce using their YTS mark and logo constitutes a use of a false

         designation of origin or false representation that wrongfully and falsely designates

         Defendants’ products and/or services as originating from or connected with

         Plaintiff, and constitutes the use of false descriptions or representations in interstate

         commerce. The actions of Defendants as alleged herein constitute intentional,

         willful, knowing and deliberate unfair competition.

               62.    Defendants’ actions constitute federal unfair competition and violate

         15 U.S.C. § 1125(a).

                                                    15
13-04A
   Case 1:20-cv-00228-DKW-WRP Document 8 Filed 05/29/20 Page 16 of 18                 PageID #: 44




               63.    As a direct and proximate result of Defendants’ unfair competition,

         Plaintiff has suffered and will continue to suffer irreparable loss of income, profits

         and goodwill and Defendants have and will continue to unfairly acquire income,

         profits and goodwill.

               64.    Defendants’ acts of unfair competition will cause further irreparable

         injury to Plaintiff if Defendants are not restrained by this Court from further

         violation of Plaintiff’s rights. Plaintiff has no adequate remedy at law.

                                          PRAYER FOR RELIEF

               WHEREFORE, the Plaintiff respectfully requests that this Court:

               (A) Enter a judgment that Plaintiff’s registered YTS trademark has been and

         continues to be infringed by Defendants in violation of 15 U.S.C. § 1114(1);

               (B) Enter a judgment that Defendants’ use of the YTS mark constitutes federal

         unfair competition in violation of 15 U.S.C. § 1125(a);

               (C) Permanently enjoin and restrain the Defendants and each of their agents,

         representatives, employees, officers, attorneys, successors, assigns, affiliates, and

         any persons in privity or active concert or participation with any of them from using

         the trademark YTS, alone or in combination with other words or symbols, as a

         trademark or trade name component or otherwise, to market, advertise, distribute or

         identify Defendants’ products or services where that designation would create a

         likelihood of confusion, mistake or deception with Plaintiff’s YTS mark;


                                                   16
13-04A
   Case 1:20-cv-00228-DKW-WRP Document 8 Filed 05/29/20 Page 17 of 18                  PageID #: 45




               (D) Order each of the Defendants Rend and Ivan Petrovic jointly and

         severally, Vinit Mav, He Shan, Hosam Azzam and Fahd Ali to pay statutory

         damages of $2,000,000 pursuant to 15 U.S. Code § 1117(c)(2) for willful

         infringement of the Plaintiff’s YTS trademark;

               (E) Order pursuant to 28 U.S.C §1651(a) that, Cloudflare, Google and any

         other service provider cease providing service for Defendants’ websites and software

         apps and that, upon Plaintiff’s request, those in privity with Defendants and those

         with notice of the injunction, including any Internet search engines, Web hosts,

         domain-name registrars, and domain name registries and/or their administrators that

         are provided with notice of the injunction, cease facilitating access to any or all

         domain names and websites through which Defendants engage in the

         aforementioned infringements;

               (F) Order each of the Defendants Rend and Ivan Petrovic jointly and severally,

         Vinit Mav and He Shan to pay statutory damages of $100,000 pursuant to 15 U.S.

         Code § 1117(d) for registering their domain names YTS.WS; YTS.MS, YST.LT;

         YTS.TL; ytsag.me, yts.ae, ytsmovies.cc and yts-ag.com with bad faith intent to

         profit from Plaintiff’s registered trademark;

               (G) award the Plaintiff its reasonable attorneys’ fees and costs pursuant to 15

         U.S.C. § 1117(a); and

               (H) grant the Plaintiff any and all other and further relief that this Court deems


                                                   17
13-04A
   Case 1:20-cv-00228-DKW-WRP Document 8 Filed 05/29/20 Page 18 of 18        PageID #: 46




         just and proper.

               Plaintiff demands a trial by jury on all issues so triable.

               DATED: Kailua-Kona, Hawaii, May 29, 2020.


                                          CULPEPPER IP, LLLC

                                          /s/ Kerry S. Culpepper
                                          Kerry S. Culpepper

                                          Attorney for Plaintiff
                                          42 Ventures, LLC




                                                   18
13-04A
